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              IN    THE I'NITED           STATES DISTRICT               COURT FOR THE
                                sourHERN DTSTRTCTOF GEORGTA                                                -6
                                                                                                        JAI'I
                                                                                                     2016           Al{9:t+
                                          AUGUSTA DIVISION
                                                                                                eLr
UNITED STATES OF AIqERICA
                                                         *                c R 1 1 3- 1 9 4


DONQUAIL          JAMAL BOOKER




                                              ORDER




        on December fo,              20L5, Defendant fifed                       a motion to reduce

his    sentence           pursuant        to AmendmenL 782 Lo the                         United        SEates

Sentencing Guidelines.                     On June 24, 20L5, however, this                                 Court

concfuded          lhat     AmendmenL 782 had no effect                            upon Defendant's

sentence because he was sentenced as a career                                      offender           and not

under       the    amended drug            quantity            table.      Defendant's                 present

motion       fails         to    show that          this         concfusion             is      in    error.

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A m e n d m e n t7 8 2 .    Defendant's           motion to reduce (doc. no. 112) is

DENIED , 1

        ORDERENTEREDat Augusta,                              Georgia,     this

January,          2 016




                                                              UNITED S                  DISTRICT




        t    The cl-erk is direcE.ed to send a copy of                                         the    Jvr,e 24,
2 0 1 5 O r d e r w i t h t h e service coDv of this order.
